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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


UNITED STATES OF AMERICA
ex rel. PAULA C. LORONA, and
REID POTTER,

        Plaintiff,
                                                       Case No. 3:15-cv-959-J-34JRK
v.

INFILAW CORPORATION, ARIZONA
SUMMIT LAW SCHOOL, LLC, FLORIDA
COASTAL SCHOOL OF LAW,
CHARLOTTE SCHOOL OF LAW, and
BARBRI, INC.,

      Defendants.
______________________________________/

               UNOPPOSED MOTION OF DEFENDANT BARBRI, INC.
        FOR 15 DAY ENLARGEMENT OF TIME TO RESPOND TO COMPLAINT

        Pursuant to Federal Rule of Civil Procedure 6(b), Defendant BARBRI, Inc. (“BARBRI”),

by and through its undersigned counsel, hereby moves for a fifteen (15) day enlargement of time

to answer, move, or otherwise respond to the Third Amended Complaint and as grounds

therefore, BARBRI states:

        1.      On or about August 16, 2018, BARBRI was served with the summons and a copy

of the Third Amended Complaint in this action. BARBRI was not served with any prior version

of this Complaint. BARBRI’s response to the Third Amended Complaint is due on September 6,

2018.

        2.      Lead counsel for BARBRI, who will be seeking pro hac vice admission, was only

recently retained, and the undersigned local counsel was not retained until this week. As such,

Defendant requests a brief enlargement of time in order to provide its counsel with the
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opportunity to familiarize themselves with the issues alleged and prepare an adequate response.

       3.      The Court has the authority to extend the time for BARBRI to answer, move, or

otherwise respond to the Third Amended Complaint for good cause shown. See FED. R. CIV. P

6(b)(1)(A). This Motion is not being made for the purposes of delay, and no parties will be

prejudiced by the brief extension requested.

       4.      Wherefore, Defendant respectfully requests an order extending the deadline for

Defendant to answer, move or otherwise respond to the Third Amended Complaint up to and

including September 21, 2018 and granting any other relief it deems just and proper.

                                Local Rule 3.01(g) Certification

       Pursuant to Local Rule 3.01(g), undersigned counsel for BARBRI hereby certifies that

counsel for BARBRI, who will be moving herein for admission pro hac vice, conferred with

Plaintiff’s counsel regarding the relief requested in this motion, and Plaintiff does not oppose the

relief requested herein.

Dated: September 5, 2018                       Respectfully submitted:

                                               GUNSTER, YOAKLEY & STEWART, P.A.

                                               By       /s/ Lauren V. Purdy
                                                        David M. Wells
                                                        Florida Bar Number 0309291
                                                        Lauren V. Purdy
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                                                        Attorneys for Defendant BarBri, Inc.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 5th day of September, 2018, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

        Sean A. Woods                                    Jeremy R. Bloor
        Robert T. Mills                                  US ATTORNEY’S OFFICE
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        5055 North 12th Street, Suite 101                Suite 3100
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-and-

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Attorneys for Relator Paula C. Lorona and Reid Potter



                                             /s/ Lauren V. Purdy
                                                 Lauren V. Purdy




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